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		OSCN Found Document:IN RE APPROVAL OF UNIFORM JUVENILE CONTINUANCE ORDER

					

				
  



				
					
					
						
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				IN RE APPROVAL OF UNIFORM JUVENILE CONTINUANCE ORDER2019 OK 5Decided: 02/25/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 5, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



In re: Approval of Uniform Juvenile Continuance Order




ORDER


¶1 The Court has reviewed the recommendation of the Oklahoma Supreme Court Juvenile Justice Oversight and Advisory Committee and hereby adopts the attached order for continuance effective May 1, 2019.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 25th day of February, 2019.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




&nbsp;Attachments

ORDER FOR CONTINUANCE

&nbsp;





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